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SIEGAL & NAPIERKOWSKI
Martin F. Siegal (MS 2208)
533 Fellowship Road, Suite 120
Mt. Laurel, New Jersey 08054
(856) 856-8900
– and –
O’MELVENY & MYERS LLP
Tancred V. Schiavoni (TVS 8986)
Barbara M. Almeida (BMA 7239)
Times Square Tower
7 Times Square
New York, New York 10036
(212) 326-2000

Attorneys for Century Indemnity
Company, ACE American Insurance
Company, and ACE Property and
Casualty Insurance Company

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY



IN RE:                                                         Chapter 11

                                                               Case No. 03-51524 (KCF)
CONGOLEUM CORPORATION, CONGOLEUM
SALES, INC. and CONGOLEUM FISCAL, INC.,                        Jointly Administered

                                Debtors.


                                     NOTICE OF APPEAL

          Notice is hereby given that Century Indemnity Company, as successor to CCI Insurance

Company, as successor to Insurance Company of North America; ACE American Insurance

Company, formerly known as CIGNA Insurance Company; and ACE Property and Casualty

Insurance Company, formerly known as CIGNA Property and Casualty Insurance Company, by

their attorneys, appeal to the United States District Court for the District of New Jersey, pursuant

to 28 U.S.C. §158(a), from the Bankruptcy Court’s May 8, 2006 “Order Clarifying Order
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Denying Motion to Appoint an Examiner Entered On April 11, 2006” (Dkt. No. 4029) and from

the Bankruptcy Court’s April 11, 2006 “Order Denying Motion to Appoint an Examiner” (Dkt.

No. 3899) (collectively, the “Order”).

       The names of all parties to the Order appealed from and the names, addresses, and

telephone numbers of their respective attorneys are listed on Schedule A annexed hereto and

incorporated herein by reference.

Dated: May 9, 2006
       New York, New York
                                              By:     /s/ Barbara M. Almeida
                                                      Barbara M. Almeida (BMA 7239)

                                              Tancred V. Schiavoni (TVS 8986)
                                              O’MELVENY & MYERS LLP
                                              7 Times Square
                                              New York, New York 10036
                                              (212) 326-2000
                                              balmeida@omm.com
                                              –and–
                                              Martin F. Siegal (MS 2208)
                                              SIEGAL & NAPIERKOWSKI
                                              533 Fellowship Road, Suite 120
                                              Mt. Laurel, New Jersey 08054
                                              (856) 856-8900

                                              Attorneys for Century Indemnity Company,
                                              ACE American Insurance Company, and
                                              ACE Property and Casualty Insurance Company




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                                        Schedule A
Richard Epling, Esq.                            Anthony Sodono, III, Esq.
Kerry Brennan, Esq.                             United States Trustee's Office
Leo Crowley, Esq.                               One Newark Center, Ste 2100
Pillsbury Winthrop LLP                          Newark, NJ 07102
1500 Broadway                                   U.S. Trustee
New York, NY 10036
Counsel to the Debtor                            Jonathan N. Helfat, Esq.
                                                 Otterbourg, Steindler, Houston & Rosen
Gregory S. Kinoian, Esq,                         230 Park Avenue, 29th Floor
James DeLuca, Esq.                               New York, NY 10169-0075
Paul Hollander, Esq.                             Counsel to Congress Financial Corp.
Okin Hollander & DeLuca, LLP
One Parker Plaza                                 Joseph H. Lemkin, Esq.
Fort Lee, NJ 07024                               William S. Katchen, Esq.
Counsel to the Debtor                            Duane Morris LLP
                                                 744 Broad Street, Suite 1200
Bette Orr, Esq.                                  Newark, NJ 07102-3889
Gilbert, Heintz & Randolph LLP                   Counsel to Congress Financial Corp.
1100 New York Avenue, N.W., Suite 700
Washington, DC 20005-3987                        Nancy Isaacson, Esq.
Special Insurance Counsel to Debtor              Goldstein, Lem & Isaacson, P.C.
                                                 100 Morris Avenue
Matthew Ward, Esq.                               Springfield, NJ 07081
Mark S. Chehi, Esq.                              Counsel for Official Unsecured
Christopher S. Chow, Esq.                        Asbestos Claimants Committee
Matthew P. Ward, Esq.
Skadden Arps Slate Meagher & Flom                R. Scott Williams, Esq.
One Rodney Square                                Haskell Slaughter Young & Rediker, LLC
Wilmington, DE 19801                             2001 Park Place North, Ste. 1400
Counsel to American Biltrite Inc.                Birmingham, AL 35203
                                                 Future Claimants Representative
Louis A. Goodman, Esq.
Vern Larkin, Esq.                                Roger Frankel, Esq.
Skadden Arps Slate Meagher & Flom                Richard H. Wyron, Esq.
One Beacon Street                                Jonathan P. Guy, Esq.
Boston, MA 02108-3194                            Swidler Berlin Shereff Friedman, LLP
Counsel to American Biltrite Inc.                3000 K Street, N.W. Suite 300
                                                 Washington, DC 20007-5116
Alexandra Margolis, Esq.                         Counsel for the Future
Skadden Arps Slate Meagher & Flom                Claimants Representative
Four Times Square
New York, NY 10036-6522
Counsel to American Biltrite Inc.




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Stephen B. Ravin, Esq.                     Robert G. Taylor II, Esq.
Bruce J. Wisotsky, Esq.                    Robert G. Taylor II PC
Ravin Greenberg PC                         One Allen Center
101 Eisenhower Parkway                     3400 Penthouse
Roseland, NJ 07068                         500 Dallas Street
Counsel for the Future                     Houston TX 77002
Claimants Representative                   Counsel to Certain Asbestos Claimants

Elihu Inselbuck, Esq.                      Randall A. Rios, Esq.
Ronald Reinsel, Esq.                       Floyd Jones Rios Wahrlich PC
Rita Tobin, Esq                            Bank of America Center
Peter Van N. Lockwood, Esq.                700 Louisiana, 46th Floor
Caplin & Drysdale, Chartered               Houston, TX 77002
One Thomas Circle, N.W.                    Counsel to Certain Asbestos Claimants
Washington, DC 20005
Counsel to Asbestos Personal Injury        Brayton & Purcell
Claimants Committee                        222 Rush Landing Road
                                           Novato, CA 94945
Perry Weitz, Esq.                          Counsel to Certain Asbestos Claimants
Weitz & Luxenberg
180 Maiden Lane                            Bryan O. Blevins, Jr., Esq.
New York, NY 10038                         Provost & Umphrey Law Firm, LLP
Prepetion Claimants’ Representative        490 Park Street
                                           P.O. Box 4905
Joseph F. Rice, Esq.                       Beaumont, TX 77704
Motley Rice LLC                            Counsel to Certain Asbestos Claimants
28 Bridgeside Blvd.
P.O. Box 1792                              Joseph D. Pope, Esq.
Mt. Pleasant, SC 29465                     Cohen Pope PLLC
Prepetition Claimants Representative       1633 Broadway, 20th Floor
                                           New York, NY 10019
Steven Kazan, Esq.                         Counsel to Certain Asbestos Claimants
Kazan, McClain, Edises, Abrams,
Fernandez, Lyons & Farrise                 Barry W. Frost, Esq.
A Professional Law Corp.                   Teich Groh
171 Twelfth St., Suite 300                 691 State Highway 33
Oakland, CA 94607                          Trenton, NJ 08619
Counsel to Certain Asbestos                Counsel to Certain Asbestos Claimants
Personal Injury Claimants
                                           Robert W. Phillips
Russell W. Budd, Esq.                      SimmonsCooper LLC
Baron & Budd, P.C.                         707 Berkshire Blvd.
3102 Oak Lawn Ave., Suite 1100             P.O. Box 521
Dallas, TX 75219                           East Alton, IL 62024
Counsel to Certain Asbestos                Counsel to Certain Asbestos Claimants
Personal Injury Claimants



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Matthew Bergman, Esq.                          Mark D. Plevin, Esq.
Bergman, Senn, Pageler & Frocki                Robert T. Ebert, Esq.
17530 Vashon Highway SW                        Crowell & Moring LLP
P.O. Box 2010                                  1001 Pennsylvania Avenue, NW
Vashon, WA 98070                               Washington DC 20004
Counsel to Certain Asbestos                    Counsel to OneBeacon America
Personal Injury Claimants                      Insurance Company, Seaton Insurance
                                               Company, Stonewall Insurance Co.
Deirdre Woulfe Pacheco, Esq.
Wilentz, Goldman & Spitzer                     Duane D. Morse, Esq.
90 Woodbridge Center Drive                     Nancy Manzer, Esq.
Suite 900, Box 10                              Wilmer Cutler Pickering Hale and Dorr LP
Woodbridge NJ 07095-0958                       1600 Tysons Boulevard, 10th Floor
Counsel to Numerous Individuals                Tysons Corner, VA 22102
Holding Asbestos-Related                       Counsel to First State Insurance Co.
Personal Injury/Wrongful Death Claims          & Twin City Fire Insurance Co.

John R. Ashmead, Esq.                          Mary K. Warren, Esq.
Seward & Kissel LLP                            R. Paul Wickes, Esq.
One Battery Park Plaza                         Brenda D. DiLuigi, Esq.
New York, NY 10004                             Ivan Morales, Esq.
Counsel for Employers                          Linklaters
Insurance of Wausau                            1345 Avenue of the Americas
                                               New York, NY 10105
Craig M. Freedman, Esq.                        Counsel to London Market Insurers
Schwartz Simon Edelstein Celso
and Kessler LLP                                Henry M. Price, Esq.
10 James Street                                Louis A. Modugno, Esq.
Florham Park, NJ 07932                         McElroy Deutsch & Mulvaney
Counsel for Employers                          1300 Mount Kemble Avenue
Insurance of Wausau                            PO Box 2075
                                               Morristown, NJ 07962-2075
John J. Dillon, Esq.                           Counsel to Old Republic Insurance Co.
Hamilton Altman Canale & Dillon LLC
6400 East West Highway, Suite 201              Edward A. Cohen, Esq.
Bethesda, MD 20814                             Dena Economou, Esq.
Counsel for Employers                          Karbal Cohen Economou Silk Dunne
Insurance of Wausau                            200 S. Michigan, Ste 2100
                                               Chicago, IL 60604
Joanne B. Wills, Esq.                          Counsel to Old Republic Insurance Co.
Klehr Harrison Harvey Branzburg & Ellers
919 Market Street, Ste 1000
Wilmington, DE 19801
Counsel to First State Insurance Co.
& Twin City Fire Insurance Co.




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Edgar M. Whiting, Esq.                          Lynn K. Neuner, Esq.
Stefano V. Calogero, Esq.                       Simpson Thacher & Barlett
Donna Lavista Schwartz, Esq.                    425 Lexington Avenue
Cuyler Burk LLP                                 New York, NY 10017
Four Century Drive                              Counsel to Travelers Insurance Co.,
Parsippany NJ 07054                             The Travelers Indemnity Co., and
Counsel to St. Paul Fire                        Travelers Casualty and Surety Co.
& Marine Insurance
                                                Daren McNally, Esq.
Philip D. Anker, Esq.                           Stephen V. Falanga, Esq.
Wilmer Cutler Pickering Hale and Dorr LLP       Connell Foley LLP
399 Park Avenue                                 85 Livingston Avenue
New York, NY 10022                              Roseland, NJ 07068
Counsel to First State Insurance Co.            Counsel to Travelers Insurance Co.,
& Twin City Fire Insurance Co.                  The Travelers Indemnity Co., and
                                                Travelers Casualty and Surety Co.
Carol Ann Slocum, Esq.
Klehr Harrison Harvey Branzburg & Ellers        Wendy L. Mager, Esq.
457 Haddonfield Road, Ste 510                   Smith Stratton Wise Heher & Brennan LLP
Cherry Hill, NJ 08002                           2 Research Way
Counsel to First State Insurance Co.            Princeton, NJ 08540
& Twin City Fire Insurance Co.                  Counsel to American Reinsurance Co.,
                                                and Mutual Marine Office Inc. and
Arthur J. Abramowitz, Esq.                      General Agent to Employers Mutual
Cozen O’Connor                                  Casualty Co.
Liberty View, Ste 300
457 Haddonfield Road                            Henry M. Price, Esq.
Cherry Hill, NJ 08002                           Kevin T. Coughlin, Esq.
Counsel to Federal Insurance Company            McElroy Deutsch & Mulvaney
                                                1300 Mount Kemble Avenue
John S. Favate, Esq.                            Morristown, NJ 07962
Hardin Kundla McKeon Poletto & Polifroni        Counsel to Continental Casualty Co.
673 Morris Avenue                               and Continental Insurance Co. (“CNA”)
PO Box 730
Springfield NJ 07081-0730                       John R. Gerstein, Esq.
Counsel to Stonewall Ins. Company,              Charles Hadden, Esq.
Counsel to Transport Insurance                  Sheila R. Caudle, Esq.
Company, One Beacon America Ins.                Ross Dixon & Bell LLP
Company and Seaton Ins. Company                 2001 K Street NW
                                                Washington DC 20006
Francis P. Maneri, Esq.                         Counsel to Continental Casualty Co.
Scott J. Freedman, Esq.                         and Continental Insurance Co. (“CNA”)
Dilworth Paxson LLP
Liberty View – Suite 700
457 Haddonfield Road
Cherry Hill, NJ 08002
Counsel to Westport Insurance Co.


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Lewis S. Rosenbloom, Esq.                     William T. Marshall, Jr. Esq.
David C. Christian II, Esq.                   Philip S. Rosen, Esq.
Jason A. DeJonker, Esq.                       Zeichner, Ellman & Krause LLP
McDermott Will & Emery                        103 Eisenhower Parkway
227 West Monroe Street                        Roseland, NJ 07068
Chicago, IL 60606-5096                        Creditors Granite State Insurance
Counsel to Continental Casualty Co. and       Company, American Home Assurance
Continental Insurance Co. (“CNA”)             Company, National Union Fire Insurance
                                              Company of Pittsburgh, PA and
David P. McClain, Esq.                        AIU Insurance Company
Daniel F. Patchin, Esq.                       ("Granite State, et al.")
Jennifer M. Graff, Esq.
McClain Leppert & Maney PC                    Marianne Gaul, Esq.
711 Louisiana, Suite 3100                     Kevin M. Haas, Esq.
South Tower, Pennzoil Place                   Cozen & O’Connor
Houston, TX 77002                             One Newark Center, Suite 1900
Counsel to Mt. McKinley Insurance Co.         Newark, NJ 07102
f/k/a Gibralter Insurance Co.                 Counsel for Everest Reinsurance
                                              Company f/k/a Prudential Reinsurance
Robert B. Millner, Esq.                       Company and Mt. McKinley Insurance
Sonnenschein Nath & Rosenthal                 Company f/k/a Gibraltar Casualty
8000 Sears Tower                              Company
Chicago, IL 60606
Counsel to Liberty Mutual Insurance Co.
                                              John Dwyer, Esq.
Andrew P. Lederman, Esq.                      William P. Shelley, Esq.
Sonnenschein Nath & Rosenthal                 Cozen O’Connor
1221 Avenue of the Americas, 25th Floor       1900 Market Street
New York, NY 10020                            Philadelphia, PA 19103
Counsel to Liberty Mutual Insurance Co.       Counsel for Everest Reinsurance
                                              Company f/k/a Prudential Reinsurance
Mark M. Tallmadge, Esq.                       Company and Mt. McKinley Insurance
George R. Hirsch, Esq.                        Company f/k/a Gibraltar Casualty
Bressler, Amery & Ross, P.C.                  Company
325 Columbia Turnpike
Florham, NJ 07932                             Shawn L. Kelly, Esq.
New Jersey Property-Liability Ins.            Mary Ellen Scalera, Esq.
Guaranty Association and New Jersey           Riker Danzig Scherer Hyland Perretti, LLP
Surplus Lines Insurance Guaranty Fund         Headquarters Plaza – One Speedwell
                                              Avenue
                                              PO Box 1981
                                              Morristown, NJ 07962-1981
                                              Counsel to TIG Insurance Company




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George R. Calhoun, Esq.                       Counsel to Protective National
Steptoe & Johnson LLP                         Insurance Company of Omaha
1330 Connecticut Avenue, NW                   Sheldon Karaski, Esq.
Washington, DC 20036                          Karaski & Einbinder LLP
Counsel for St. Paul Fire & Marine Ins.       28 West 26th Street – Suite 901
Co. Counsel to TIG Insurance Company          New York, NY 10018

Counsel to First State Insurance              Counsel to Microsoft Corporation
Company and Twin City Fire Insurance          John R. Knapp, Jr., Esq.
Company                                       Cairncross & Hempelmann, PS
James P. Ruggeri, Esq.                        524 2nd Avenue, Suite 500
Edward B. Parks, II, Esq.                     Seattle, WA 98104-2323
Kathleen P. Tanner, Esq.                      Counsel for the Teamsters Pension Fund
Hogan & Hartson, LLP                          of Philadelphia & Vicinity and Teamsters
555 Thirteenth Street, NW                     Health and Welfare Fund of Philadelphia
Washington, DC 20004                          and Vicinity
                                              John C. Kilgannon, Esq.
Counsel to Certain London Market              Stevens & Lee, PC
Insurance Companies                           1818 Market Street, 29th Floor
Certain Underwriters of Lloyds, London        Philadelphia, PA 19103-7954
Michael D. Sirota, Esq.
Warren A. Usatine, Esq.                       Counsel for Wachovia Bank, N.A.
Cole Schotz, Meisel, Forman & Leonard         Jeffrey M. Rosenthal, Esq.
25 Main Street                                Greenberg Traurig, LLP
Hackensack, NJ 0760                           200 Campus Drive
                                              Florham Park, NJ 07932-0677
Counsel to Marsh USA
Stuart J. Freedman, Esq.                      Counsel for Wachovia Bank, N.A.
Martha an. Donovan, Esq.                      Wachovia Bank, N.A., as Indenture Trustee
Norris, McLaughlin & Marcus                   c/o Richard Frimmer, Esquire
721 Route 202-206, PO Box 1018                Greenberg Traurig, LLP
Somerville, NJ 08876-1018                     Two Commerce Square, Suite 2700
                                              2001 Market Street
Counsel to Aon Corporation                    Philadelphia, PA 19103
Richard M. Mandel, Esq.
Leslie A. Santora, Esq.                       Counsel for Canon
O’Brien Liotta Mandel & Kupfer LLP            Financial Services, Inc.
Liberty Hall Corporate Center                 Andrew Sklar, Esq.
1085 Morris Avenue                            Sklar & Paul PC
PO Box 3180                                   701 White Horse Road, Suite 5
Union, NJ 07083-1980                          Voorhees, NJ 08043




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Counsel to Gilbert Heintz & Randolph,       Unsecured Creditor
LLP; Kenesis Group LLC and                  Noveon, Inc.
Clearinghouse LLC                           Attn: Tracy Grim
Mark D. Knoll, Esq.                         911 Brecksville Road
McCarter & English LLP                      Brecksville, IL 44141
Four Gateway Center
100 Mulberry Street                         Unsecured Creditor
Newark, NJ 07102-4096                       CMH Flooring Products Inc.
                                            Attn: Sherry Poe
Counsel to Maxus Energy Corp. and           Highway 74 West
Tierra Solutions, Inc. for itself and       Wadesboro, NC 28170
Occidental Chemical Corp.
Monica S. Blacker, Esq.                     Unsecured Creditor
Mike S. Coffman, Esq.                       Occidental Chem. Corp. (PLT)
Andrews Kurth LLP                           Attn: Barbara Greer
1717 Main Street, Suite 3700                5005 LBJ Freeway
Dallas, TX 75201                            Dallas, TX 75244

Counsel for William B. Carpenter, Sr.       Unsecured Creditor
and Shirley Carpenter                       Engineering America, Inc.
Timothy P. Duggan, Esq.                     Attn Ron Gottried
Stark & Stark                               2875 N.E. 191st Street, Ste. 704
993 Lenox Drive                             Aventura, FL 33180
Princeton, NJ 08543
                                            Unsecured Creditor
Counsel to Xerographic                      Mohawk Factoring, Inc.
Document Solutions, Inc.                    Attn: Anita Stoner
Richard D. Fornaro, Esq.                    2001 Antoch Road
Kusnirik & Fornaro                          Dalton, GA 30720
365 White Horse Avenue
Hamilton, NJ 08610-1423                     Unsecured Creditor
                                            M. Stephen Smith, Esq.
CIBC World Markets Corp.                    Rumberger, Kirk & Caldwell
Stacey L. Meisel, Esq.                      Brickell Bayview Centre, Ste. 3000
Becker Meisel LLC                           80 Southwest, 8th Street
Eisenhower Plaza II                         Miami, FL 33130
354 Eisenhower Parkway, Suite 2800
Livingston, NJ 07039                        Unsecured Creditor
                                            Marketing Alliance Group, Inc.
Unsecured Creditor                          Attn: Sandy McDowell
Ferro Corporation                           2830 North Dug Gap Road
Attn: Claudine Harvey                       Dalton, GA 30722
7061 E. Pleasant Valley Rd.
Independence, OH 44131-5543




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Unsecured Creditor                        Unsecured Creditor
Lockwood's Electric Motor                 Air Products & Chemicals, Inc.
Attn: Mike McGee                          Attn: Tom Jacob (A6313)
2239 Nottingham Way                       7201 Hamilton Blvd.
Trenton, NJ 08619                         Allentown, PA 18195

Unsecured Creditor                        Unsecured Creditor
Mapei Corporation                         Mid-Atlantic Storage Systems, Inc.
Attn: Bruno Boulanger                     Attn.: Jeff Eldridge
2900 Francis Hughes                       1551 Robinson Road
Laval, Quebec, Canada H7L3J5              Washington Ct. House, OH 43160

Unsecured Creditor                        Unsecured Creditor
Midland Products                          BGE Commercial Building Systems
Attn: John Rothjean                       Attn: Chief Operating Officer
18600 Graphics Court                      111 Market Place, Suite 700
Tinley Park, IL 60477                     Baltimore, MD 21202

Unsecured Creditor                        Secured Creditor
Micro Solutions Plus, Inc.                Illinois Dept of Revenue
Attn: Sean Galloway                       Attn: General Counsel
120 Bethlehem Pike                        101 West Jefferson Street
Colmar, PA 18915                          Springfield, IL 62702-9035

Unsecured Creditor                        Counsel to IBM Credit LLC
Albany Intl-Appleton Wire                 Patricia Grauert, Esq.
Attn: Dave Davin                          Special Handling Group-MD NC317
435 6th Street                            IBM Credit LLC
Menasha, WI 54952                         North Castle Drive
                                          Armonk, NY 10504
Unsecured Creditor
AGI Schultz Merchandising, Inc.           IBM Credit LLC
Attn: Joyce Sexton                        General Counsel
376 Pine Street Ext.                      IBM Credit LLC
Forest City, NC 28043                     One Orchard Rd
                                          Armonk, NY 10504
Unsecured Creditor
Lenape Industries, Inc.                   Secured Creditor
Attn: Art Fletcher                        PNC Leasing
120 Old Camplain Road                     Attn: Chief Operating Officer
Hillsborough, NJ 08876                    620 Liberty Avenue-13th Floor
                                          Pittsburgh, PA 15222
Unsecured Creditor
Exxon Chemical Americas
Attn: Leslie Carrier
13501 Katy Freeway
Houston, TX 77079


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Secured Creditor                          Secured Creditor
CitiCapital (f/k/a Copelco Capital)       Associates Leasing Inc. GE Credit Corp.
Attn: Chief Operating Officer             Attn: Chief Operating Officer
1800 Overcenter Drive                     555 Dr. Frederick Philips Blvd.
Moberly, MO 65270                         St. Laurent QC Canada H4M 2X4
Attention: Libby Sullivan
                                          Counsel to Texas Comptroller of Public
Secured Creditor                          Accounts
First Union National Bank                 John Mark Stern
Attn: Chief Operating Officer             Assistant Attorney General
370 Scotch Road                           Bankruptcy & Collections Division
West Trenton, 08628                       P.O. Box 12548
                                          Austin, TX 787110-2548
Secured Creditor
MCI Worldcom Communications               Deputy Attorney General
Attn: Chief Operating Officer             Gary W. Wolf, II, Esq.
165 Halsey Street                         Andrew Reese, Esq.
Newark, NJ 07102                          Deputy Attorney General
                                          NJ Attorney General's Office, Div. of Law
Secured Creditor                          R.J. Hughes Justice Complex
Pitney Bowes Credit Corp.                 25 Market Street
Attn: Chief Operating Officer             P.O. Box 093
2225 American Drive                       Trenton, NJ 08625
Neenah, WI 54956-1005
                                          U.S. Attorney Office
Secured Creditor                          United States Attorney
Martin Leasing Co.                        970 Broad Street, 5th Floor
Attn: Chief Operating Officer             Newark, NJ 07102
124 Caither Drive                         Attn: General Counsel
Mt. Laurel, NJ 08054
                                          Internal Revenue Service
Secured Creditor                          Internal Revenue Service
Arbor Material Handling Inc.              Attn: Insolvency Department
Raymond Leasing                           31 Hopkins Plaza, Rm. 1150
Attn: Chief Operating Officer             Baltimore, MD 21202
20 South Canal Street
Greene, NY 13778                          Securities & Exchange Commission
                                          Patricia Schrage
Secured Creditor                          Securities & Exchange Commission
IBM Credit Corp.                          15th & Pennsylvania Ave., N.W.
Attn: Chief Operating Officer             Washington, DC 20020
1 New Orchard Road
Armonk, NY 10504




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Pension Benefit Guaranty Corporation
Pension Benefit Guaranty Corporation
Attn: Office of the General Counsel
Attn: Merrill D. Boone, Esq.
1200 K. Street, N.W., Suite 340
Washington, DC 20005

Environmental Protection Agency
Environmental Protection Agency
Attn: Insolvency Department
290 Broadway

Agent for Bureau of Employer Tax
Operations (BETO), Dept. of Labor &
Industry,
Commonwealth of PA
Dolores Geesaman
Manager, Commonwealth of PA
Department of Labor and Industry
Harrisburg Bankruptcy & Compliance
1171 S. Cameron St., Rm. 312
Harrisburg, PA 17104-2513
New York, NY 10007-1866




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